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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF NEW YORK

  FIVE STAR BANK,
                                         Plaintiff,
                                                               CASE NO. 6:24-CV-06153-FPG
                             V.

  KATHERINE MOTT; ROBERT HARRIS; KRM
                                                               DECLARATION OF JOHN G.
  EVENTS, LLC; KATHERINE’S ON MONROE, LLC;
                                                               HORN IN SUPPORT OF
  THE DIVINITY ESTATE AND CHAPEL, LLC; KNC
                                                               SECOND APPLICATION OF
  ELEGANCE, LLC D/B/A THE WINTERGARDEN BY
                                                               HARTER SECREST & EMERY
  MONROES; 11 WEXFORD GLEN, LLC; RCC
                                                               LLP, COUNSEL TO THE
  MONROES LLC; NAF REMODELING LLC;
                                                               RECEIVER, FOR
  MONROES AT RIDGEMONT LLC CRESCENT
                                                               ALLOWANCE OF
  BEACH AT THE LAKE LLC; MOTT
                                                               COMPENSATION
  MANAGEMENT LLC; KRISTINE BOURNE;
  TAYLOR PAGANO; TIMOTHY LAROCCA
                                         Defendants.

        JOHN G. HORN, ESQ. declares the following under penalty of perjury:

        1.      I am a partner of the law firm Harter Secrest & Emery LLP (“HSE”), which

pursuant to docket order (ECF Dkt. No. 57), entered by this Court on May 16, 2024 (the “Counsel

Appointment Order”), has been retained by Mark R. Kercher, CPA, the receiver (the “Receiver”)

for the Defendant Entities in the above-captioned matter, as counsel to the Receiver.

        2.      HSE moves the Court (the “Motion”) pursuant to the Counsel Appointment Order

for authorization of payment for HSE’s services rendered during the period June 1, 2024 through

June 30, 2024 (the “Compensation Period”). I make this declaration in support of the Motion.

        3.      During the Compensation Period, HSE billed 32.9 hours for services rendered to

the Receiver. A detailed description of the services rendered to the Receiver by HSE is set forth

below. HSE’s detailed time records for the Compensation Period are attached hereto as Exhibit

“A”.

        4.      The Initial Receiver’s Report. During the Compensation Period, the Receiver’s

initial monthly report to the Court was finalized and filed. Because of the importance of this initial
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report of the Receiver (which was the subject of at least one Buffalo News article after it was filed)

as to his experiences and assessments from the commencement of the receivership, and given the

very public dispute which resulted in this lawsuit, the Receiver and HSE understood that the initial

report to the Court needed to be straightforward, candid, unbiased, and professional. HSE carefully

reviewed and provided feedback on the draft, as well as on the Receiver’s proposed financial

disclosure, and held several conferences with the Receiver in order to finalize the report. Both the

Receiver and HSE suggested multiple revisions to the draft based on these conferences. Once the

report was finalized, HSE filed it.

        5.         Advising the Receiver. During the Compensation Period, HSE advised and assisted

the Receiver in additional matters relating to the receivership and the efforts of the Receiver to

stabilize the financial condition of the Defendant Entities. These included:

                  Conferring with the Receiver as to the proposed sale of real estate to raise working

                   capital for the Defendant Entities and to pay sales tax and withholding arrearages;

                  Conferring with the Receiver regarding an action proposed by counsel to the

                   Defendant Entities to recover amounts which were delivered by Community Bank

                   to Five Star Bank from accounts maintained by the Defendant Entities at

                   Community Bank prior to the establishment of the receivership, and subsequently

                   corresponding and conferring with counsel for the Defendant Entities regarding

                   same;

                  Conferring with the Receiver regarding dispute between Genesee Construction

                   Services and the Defendant Entities and corresponding with counsel for Genesee

                   Construction Services regarding same;

                  Conferring with the Receiver regarding the Buffalo News article reporting on the

                   Receiver’s initial monthly report and considerations regarding same;

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                  Reviewing motions to dismiss filings in the instant lawsuit as well as the letter

                   motion of Ridgemont Country Club, one of the landlords of the Defendant Entities

                   businesses, and the order denying same.

        6.         Fee Applications. During the Compensation Period, on behalf of the Receiver, HSE

prepared a second application for compensation for the Receiver and his assistant for accounting

matters, Amy Snowberger, for May 2024. HSE also prepared its first application for compensation

for the same period.

        8.         As our Application demonstrates, the services that HSE has rendered on behalf of

the Receiver have been beneficial to the Receiver and the receivership.

        9.         HSE, in the ordinary course of its business, maintains computerized time and

financial records. Attached to this Application as Exhibit “A” are the detailed time records of the

actual services performed on behalf of the Receiver during the Compensation Period. The

following is a list of the HSE professionals who performed services for the Receiver in this case

during the Compensation Period, together with the billing rates negotiated by the Receiver for each

professional:

 Partner/Associate               Position            Rate         Hours           Total
 Gatto, Nicholas                 Senior Counsel     $400.00       17.50           $7,000.00
 Horn, John                      Partner            $475.00       10.00           $4,750.00
                                                    TOTAL         27.50          $11,750.00




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 Paraprofessional              Position            Rate        Hours             Total
 Amplement, Tracy L            Paralegal          $225.00          5.40          $1,215.00
                                                  TOTAL            5.40          $1,215.00

PROFESSIONALS TOTAL                                                            $12,965.00


        10.       Based upon the foregoing, HSE requests approval for compensation of $12,965.00

for actual, reasonable, and necessary services rendered by HSE to the Receiver under and pursuant

to the Counsel Appointment Order during the Compensation Period.

        WHEREFORE, pursuant to the Counsel Appointment Order, for the period June 1, 2024

through June 30, 2024, HSE respectfully requests payment of compensation in the amount of

$12,965.00 on account of actual, reasonable, and necessary services rendered by HSE as counsel

to the Receiver .

Dated: August 7, 2024


                                               HARTER SECREST & EMERY LLP

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                                               Counsel to Mark R. Kercher, Receiver




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